      Case 3:21-cv-11048-GC-TJB Document 65 Filed 01/26/24 Page 1 of 1 PageID: 699




                                                                                            767 Fifth Avenue
                                                                                    New York, NY 10153-0119
                                                                                         +1 212 310 8000 tel
                                                                                         +1 212 310 8007 fax

                                                                                             Gary D. Friedman
                                                                                             +1 (212) 310-8963
January 26, 2024                                                                      gary.friedman@weil.com



The Honorable Tonianne J. Bongiovanni, United States Magistrate Judge
United States District Court for the District of New Jersey
Clarkson S. Fisher Federal Building and United States Courthouse
402 East State Street, Trenton, NJ 08608

Re:      Kumar, et.al. v. Bochasanwasi Shri Akshar Purushottam Swaminarayan Sanstha, Inc., et al.,
         No. 21-CV-11048 (GC)(TJB)

Dear Judge Bongiovanni:

We represent Defendants Bochasanwasi Shri Akshar Purushottam Swaminarayan Sanstha, Inc., BAPS
Atlanta, LLC, BAPS Chicago, LLC, BAPS Chino Hills, LLC, BAPS Houston, LLC, BAPS Mercer,
LLC, BAPS Robbinsville, LLC, BAPS Development, Inc., BAPS Fellowship Services, Inc., Bharat
Patel, a/k/a Bharat Doe a/k/a Bharat Bhai, Kanu Patel, Pankaj Patel, Swami Prasanand a/k/a Prashant
Darshan Das Sadhu, and Rakesh Patel in the above-referenced civil action. 1 We write jointly with
counsel for Plaintiffs to provide the Court with an update as directed in the Court’s December 1, 2023
text Order.

The government’s investigation is ongoing, and they have not given counsel in the above-referenced
matter any timeframe as to when they expect the investigation to conclude. Because the investigation is
ongoing, Defendants’ position is that the Trafficking Victims Protection Act, 18 U.S.C. § 1595(b),
requires that the stay—entered by the Court on the parties’ consent in November 2021—remain in effect
pending the conclusion of the government investigation. When the government informs the parties that
the investigation has concluded, the counsel for the parties will promptly notify the Court.
We thank the Court for its attention to this matter.

Respectfully submitted,



Gary D. Friedman



1
  We do not represent defendants BAPS Bochasanwasi Shri Aksharpurushottam Swaminarayan Sanstha
(an India Public Trust) or Harshad Chavda.
